O AO 472 (Rev. 12/03) Order of Detention Pending Trial


                                          UNITED STATES DISTRICT COURT
                         WESTERN                                         District of                             NORTH CAROLINA
          UNITED STATES OF AMERICA
                     V.                                                              ORDER OF DETENTION PENDING TRIAL
           DAWN RAE TEESATESKIE                                                    Case     2:08 mj 08
                              Defendant
    In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require the
detention of the defendant pending trial in this case.
                                                            Part I— Findings of Fact
G (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a G federal offense G state
         or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed - that is
         G a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
         G an offense for which the maximum sentence is life imprisonment or death.
         G an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                 .*
         G a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
              § 3142(f)(1)(A)-(C), or comparable state or local offenses.
G (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
G (3) A period of not more than five years has elapsed since the G date of conviction G release of the defendant from imprisonment
         for the offense described in finding (1).
G (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
         safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                                    Alternative Findings (A)
     (1) There is probable cause to believe that the defendant has committed an offense
              for which a maximum term of imprisonment of ten years or more is prescribed in                                                        .
              under 18 U.S.C. § 924(c).
     (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure
         the appearance of the defendant as required and the safety of the community.
                                                               Alternative Findings (B)
     (1) There is a serious risk that the defendant will not appear.
X    (2) There is a serious risk that the defendant will endanger the safety of another person or the community.

                                          SEE ATTACHED ADDENDUM TO DETENTION ORDER




                                            Part II— W ritten Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by X clear and convincing evidence                           a prepon-
derance of the evidence that
                                       SEE ATTACHED ADDENDUM TO DETENTION ORDER




                                                   Part III— Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility separate,
to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance
in connection with a court proceeding.

                       Date                                                                           Signature of Judge
                                                                                      Dennis L. Howell, United States Magistrate Judge
                                                                                                 Name and Title of Judge
*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or (c)
Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).

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                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              BRYSON CITY DIVISION
                                    2:08 mj 08

UNITED STATES OF AMERICA,

Vs.                                                                      ADDENDUM TO
                                                                        DETENTION ORDER
DAWN RAE TEESATESKIE.
_______________________________

I. FACTORS CONSIDERED

      18 U.S.C. § 3142:
      (g) Factors to be considered.--The judicial officer shall, in determining whether there are
      conditions of release that will reasonably assure the appearance of the person as required and
      the safety of any other person and the community, take into account the available information
      concerning--
       (1) The nature and circumstances of the offense charged, including whether the offense is a
        crime of violence, a Federal crime of terrorism, or involves a minor victim or a controlled
       substance, firearm, explosive, or destructive device;
       (2) the weight of the evidence against the person;

       (3) the history and characteristics of the person, including--

           (A) the person's character, physical and mental condition, family ties, employment,
               financial resources, length of residence in the community, community ties, past
               conduct, history relating to drug or alcohol abuse, criminal history, and record
               concerning appearance at court proceedings; and
            (B) whether, at the time of the current offense or arrest, the person was on probation,
                on parole, or on other release pending trial, sentencing, appeal, or completion of
                sentence for an offense under Federal, State, or local law; and
      (4) the nature and seriousness of the danger to any person or the community that would be
        posed by the person's release.




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II.                                     FINDINGS


As to factor:


(g)(1): The nature and circumstances of the offense charged involve a crime of violence.


 (g)(2): The weight of the evidence against the person appears to strong and significant. The
defendant, along with four other persons, brutally beat, kicked and stabbed a victim resulting
in over 18 separate stab wounds to the victim.


(g)(3): The history and characteristics of the person


    (A) Family ties, employment, financial resources, length of residence in the community,
community ties, past conduct, history relating to drug or alcohol abuse, criminal history
and record concerning appearance at court appearances indicate that the defendant has
family ties but has not had employment since 2007. The defendant has a long length of
residence in the Cherokee community. In regard to the defendant’s history relating to drug
or alcohol abuse, the defendant has used marijuana. In regard to the defendant’s criminal
record regarding drug or alcohol abuse, the defendant has the following convictions:
        Offense                                                           Conviction Date
Possession of marijuana up to ½ oz                                           10/27/05
Consuming alcohol under age 21                                               05/11/05
Driving after consuming under age 21                                         01/23/06
Possession of a schedule IV controlled substance                             05/23/07

In addition to the above referenced offenses, the defendant has the following additional
criminal convictions:
         Offense                                                           Conviction Date
Weapons offense - Cherokee Tribal Court                                      07/19/05
Simple assault                                                               07/19/05
Disorderly conduct                                                           10/11/06
Simple assault                                                               05/23/07
Worthless check                                                              01/04/08

The defendant’s record concerning appearance at court appearances shows that the defendant
has appeared as she has been required to do.


     (B) At the time of the current offense or arrest, the defendant was on probation, parole
or other release pending trial, sentencing, appeal or completion of sentence. It appears that
this factor does exist. The defendant was placed on 12 months probation on May 23, 2007
for the crime of simple assault. The defendant was serving this period of probation when
the acts described in the criminal complaint allegedly occurred. In addition, the defendant



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had been arrested on October 24, 2007 for driving while license revoked. She was released.
The defendant was arrested again on December 31, 2007 and charged with driving while
license revoked and was again released.


 (g)(4): The nature and seriousness of the danger to any person or the community that would
be posed by the person’s release indicate that based upon clear and convincing evidence, the
release of the defendant would create a risk of harm or danger to any other person or the
community. This defendant has four criminal convictions for crimes involving either
violence or weapons. At the time the events as allegedly occurred and as described in the
criminal complaint the defendant was on probation for the crime of assault. The acts
described in the affidavit attached to the criminal complaint show acts of extreme and brutal
violence. In the defendant’s statement she admitted that she had kicked the victim in the face
while other co-defendants were assaulting the victim either with their fist, feet or with
knives. These acts show that the release of the defendant would create a risk of harm or
damage to any other person or the community. As a result, the undersigned has determined
to enter an order detaining the defendant.
The undersigned does not find by a preponderance of the evidence that the release of the
defendant would create a risk of flight on her part.
WHEREFORE, it is ORDERED that the defendant be detained pending further
proceedings in this matter.


                                          Signed: March 12, 2008




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